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                                                               October 25, 2023
 Hon. Cheryl L. Pollak, USMJ
 United States District Court Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
        VIA ECF

                Re:     Pereira v. Capala, Docket No.: 17-cv-3434 (ILG) (CLP)
                        Gortat et al. v. Capala Bros. et al.; Docket No.: 07-cv-3629 (DG)(CLP)
 Dear Judge Pollak,

         I represent my firm and the Gortat Plaintiffs in the above consolidated action, which
 comprizes: the Pereira Action and the Rule 69 proceeding in the Gortat Action. By this letter, I
 seek a status conference in the Gortat Action.

         As Your Honor is aware, the parties in the Pereira settled their action and my firm and the
 Gortat Plaintiffs were signatories to that settlement agreement. However, the settlement
 agreement specifically excluded the rights my firm and the Gortat Plaintiffs have in the Gortat
 Action in which we have substantial claims against Capala Brothers, Inc. and the purchasers of
 the corporate shop – the Cielepaks. During the settlement discussions in the Pereira case, I
 invited the attorney for the Cielepaks to resolve our differences at that time so that both cases
 could conclude. Unfortunately, he declined.

         In the Gortat Action, there is the issue of Plaintiffs’ very substantial attorney fees and
 costs incurred in the Rule 69 proceeding, in which they basically uncovered all the fraud on
 which the bankruptcy trustee, Mr. Pereira, later based his lawsuit. In the Gortat Action, Capala
 Bros, Inc. which has not been dissolved, defaulted in that it never retained a new attorney after its
 counsel, Bruce Bieber, was allowed to withdraw from representing it by Magistrate Judge Gold
 (DE 496) (minute entry dated 04/22/15 attached herewith). There is also the unresolved issue of
 the Cielepaks’ appeal to the Hon. Glasser of MJ Gold’s Report and Recommendation which
 found that the corporate shop had been sold for below market value and directed a payment to
 Plaintiffs.

        In light of the above, I respectfully request that Your Honor schedule a status conference
 at which these issues can be addressed. For Your Honor’s benefit, I have court proceedings
 which I will not be able to change on October 31, November 3, 7, 11, 22 and will be out of the
 country from November 24 to December 10.
                                                               Respectfully submitted,
                                                               /s/ Robert Wisniewski
                                                               Robert Wisniewski
 cc:    All counsel of record via ECF

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